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                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                  NORTHERN DIVISION

       In re: EDWARD PORTNOY MD, INC.                       §     Case No. 9:16-bk-11975-DS
                                                            §
                                                            §
                                                            §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Jeremy W. Faith, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $40.00                                 Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:   $14,580.08              Claims Discharged
                                                                  Without Payment: N/A


      Total Expenses of Administration:    $59,904.71




               3) Total gross receipts of $74,484.79 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $74,484.79 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                          $0.00                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $62,316.24           $62,316.24           $59,904.71


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                  $800.00                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $397,865.13          $191,392.20          $191,392.20           $14,580.08


   TOTAL DISBURSEMENTS                           $398,665.13          $253,708.44          $253,708.44           $74,484.79




                 4) This case was originally filed under chapter 7 on 10/25/2016. The case was pending for 41
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        03/31/2020                        By: /s/ Jeremy W. Faith
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                           $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                        RECEIVED

 Avoidance Claim - Citibank, NA                                                                 1241-000                           $18,000.00

 Avoidance Claims - Capital One, NA                                                             1241-000                           $17,484.79

 Avoidance Claim - JPMorgan Chase Bank NA                                                       1241-000                           $25,000.00

 Preferential Avoidance Claim - Edward Portnoy Individually                                     1241-000                           $14,000.00

                             TOTAL GROSS RECEIPTS                                                                                  $74,484.79

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                  $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                   PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS


                                             UNIFORM              CLAIMS
     Claim                                                                               CLAIMS                     CLAIMS       CLAIMS
                     CLAIMANT                 TRAN.             SCHEDULED
      NO.                                                                               ASSERTED                   ALLOWED        PAID
                                              CODE            (from Form 6D)


                                                                          None




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM       CLAIMS             CLAIMS             CLAIMS              CLAIMS
   PAYEE                               TRAN.      SCHEDULED           ASSERTED           ALLOWED               PAID
                                       CODE

 Trustee, Fees - Jeremy W. Faith       2100-000              NA             $6,974.24        $6,974.24        $4,562.71

 Trustee, Expenses - Jeremy W.         2200-000              NA                $3.40            $3.40               $3.40
 Faith
 Attorney for Trustee Fees -           3110-000              NA         $32,766.00       $32,766.00          $32,766.00
 MARGULIES FAITH LLP
 Attorney for Trustee, Expenses -      3120-000              NA              $289.72          $289.72             $289.72
 MARGULIES FAITH LLP
 Charges, U.S. Bankruptcy Court        2700-000              NA             $1,050.00        $1,050.00        $1,050.00

 Bond Payments - INTERNATIONAL         2300-000              NA               $51.16           $51.16              $51.16
 SURETIES
 Banking and Technology Service        2600-000              NA              $118.83          $118.83             $118.83
 Fee - Rabobank, N.A.
 Income Taxes - Internal Revenue       2810-000              NA             $2,411.53        $2,411.53        $2,411.53
 Service (post-petition) - Internal
 Revenue Service
 Other State or Local Taxes (post-     2820-000              NA             $2,492.00        $2,492.00        $2,492.00
 petition) - Franchise Tax Board
 Accountant for Trustee Fees (Other    3410-000              NA         $16,136.50       $16,136.50          $16,136.50
 Firm) - Grobstein Teeple, LLP
 Accountant for Trustee Expenses       3420-000              NA               $22.86           $22.86              $22.86
 (Other Firm) - Grobstein Teeple,
 LLP
 TOTAL CHAPTER 7 ADMIN. FEES
                                                             NA         $62,316.24       $62,316.24          $59,904.71
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                UNIFORM         CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                               TRAN. CODE     SCHEDULED          ASSERTED          ALLOWED                PAID

                                                          None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                      CLAIMS
                                     UNIFORM        CLAIMS
                                                                     ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT           TRAN.      SCHEDULED
                                                                  (from Proofs of    ALLOWED           PAID
                                      CODE      (from Form 6E)
                                                                       Claim)

    N/F      California Franchise    5600-000           $800.00                NA            NA              NA
             Tax Board Special
             Procedures/Bankruptcy

           TOTAL PRIORITY
          UNSECURED CLAIMS                              $800.00              $0.00         $0.00           $0.00




 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                      CLAIMS
                                     UNIFORM        CLAIMS
                                                                     ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT           TRAN.      SCHEDULED
                                                                  (from Proofs of    ALLOWED           PAID
                                      CODE      (from Form 6F)
                                                                       Claim)

     2       OnDeck Capital Inc.,    7100-000       $193,056.48        $191,392.20   $191,392.20      $14,580.08
             assignee of Bofl
             Federal Bank c/o
             Aubrey Law Firm PC

    N/F      Bioventus, LLC          7100-000         $5,600.00                NA            NA              NA


    N/F      Genzyme Corporation     7100-000        $30,800.00                NA            NA              NA


    N/F      Priority Healthcare     7100-000       $168,408.65                NA            NA              NA
             Distributors dba
             CuraScript SD

            TOTAL GENERAL
           UNSECURED CLAIMS                         $397,865.13        $191,392.20   $191,392.20      $14,580.08




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                                                               Form 1
                                                                                                                                                             Exhibit 8
                                           Individual Estate Property Record and Report                                                                      Page: 1

                                                            Asset Cases
Case No.:    9:16-bk-11975-DS                                                                    Trustee Name:      (001380) Jeremy W. Faith
Case Name:        EDWARD PORTNOY MD, INC.                                                        Date Filed (f) or Converted (c): 10/25/2016 (f)
                                                                                                 § 341(a) Meeting Date:       12/19/2016
For Period Ending:        03/31/2020                                                             Claims Bar Date:      05/29/2018

                                      1                                  2                      3                       4                   5                     6

                           Asset Description                          Petition/         Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)            Unscheduled        (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                       Values                 Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                      Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                                 and Other Costs)

    1       Checking Account Account at Union                                 40.00                     40.00                                    0.00                          FA
            Bank, xxxxxx

    2       Preferential Avoidance Claim - Edward                              0.00                 14,000.00                              14,000.00                           FA
            Portnoy Individually (u)

    3       Avoidance Claims - Capital One, NA (u)                             0.00                 23,313.05                              17,484.79                           FA
            Faith v. Capital One, NA - Adv. No. 9:18-ap-01031-DS

    4       Avoidance Claim - JPMorgan Chase                                   0.00                 39,132.07                              25,000.00                           FA
            Bank NA (u)
            Faith v. JPMorgan Chase Bank - Adv. No. 9:18-ap-
            01032-DS

    5       Avoidance Claim - Citibank, NA (u)                                 0.00                 18,186.77                              18,000.00                           FA
            Faith v. Citibank, NA - Adv. No. 9:18-ap-01033-DS


    5       Assets Totals (Excluding unknown values)                         $40.00              $94,671.89                             $74,484.79                       $0.00



 Major Activities Affecting Case Closing:

                                  Period ending 3/31/20: ETFR date advanced from 9/30/19 to 3/31/20 waiting on tax clearance, then ready to
                                  close. 10/1/19 request for court costs, and 21 day notice filed. Court costs $1,050. IRS $2400 penalty for late
                                  filed 2017 tax return, JWF to take the amount out of his handle so no creditors or admins have to take a lower
                                  distribution.
                                  .
                                  Period ending 3/31/19: ETFR advanced from 2/22/19 to 6/30/19 while waiting for preparation of final estate
                                  tax returns. Estimate for filing of final tax returns 5/31/19. Case then ready for 21-day notice and TFR
                                  preparation. ETFR advanced from 6/30/19 to 9/30/19 for tax clearance.

                                  Period ending 3/31/18: Trustee engaged an accountant Grobstein Teeple to review the books and records of
                                  the Debtor. Thereafter, the Trustee hired Margulies Faith as counsel, which employment app was approved
                                  on 9/6/17. The Trustee is investigating potential avoidance and preference claims against insiders and third
                                  parties, and anticipates filing complaints in Q2 of 2018. Settlement reached with principal of return of
                                  possible avoidance claim, which agreement should be finalized by May, 2018. Estate tax returns will be
                                  required. ETFR: 2/22/2019.


 Initial Projected Date Of Final Report (TFR): 02/22/2019                             Current Projected Date Of Final Report (TFR):             10/31/2019 (Actual)


                       03/31/2020                                                                     /s/Jeremy W. Faith
                            Date                                                                      Jeremy W. Faith




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                                                              Form 2                                                                                Exhibit 9
                                                                                                                                                    Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              9:16-bk-11975-DS                                    Trustee Name:                  Jeremy W. Faith (001380)
Case Name:             EDWARD PORTNOY MD, INC.                             Bank Name:                     Mechanics Bank
Taxpayer ID #:         **-***6545                                          Account #:                     ******6000 Checking
For Period Ending: 03/31/2020                                              Blanket Bond (per case limit): $5,000,000.00
                                                                           Separate Bond (if applicable): N/A

    1          2                        3                                          4                            5                     6                       7

  Trans.    Check or      Paid To / Received From            Description of Transaction       Uniform       Deposit             Disbursement         Account Balance
   Date      Ref. #                                                                          Tran. Code       $                       $

 05/16/18     {2}      Edward B Portnoy MD                Settlement payment                 1241-000           14,000.00                                         14,000.00
 05/31/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      10.00                  13,990.00
                                                          Fees
 06/29/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      19.45                  13,970.55
                                                          Fees
 07/31/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      21.43                  13,949.12
                                                          Fees
 08/31/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      20.72                  13,928.40
                                                          Fees
 09/25/18     {4}      JPMorgan Chase & Co                Settlement Payment - Chase         1241-000           25,000.00                                         38,928.40
 09/28/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      12.05                  38,916.35
                                                          Fees
 10/31/18              Rabobank, N.A.                     Bank and Technology Services       2600-000                                      35.18                  38,881.17
                                                          Fees
 11/05/18     {5}      Citibank, NA                       Settlement Payment from Citi       1241-000           18,000.00                                         56,881.17
 11/13/18     {3}      Capital One Services, LLC          Settlement Payment from Capital    1241-000           17,484.79                                         74,365.96
                                                          One on Preference
 01/31/19     101      INTERNATIONAL SURETIES             Pro Rata Bond Payment for          2300-000                                      51.16                  74,314.80
                                                          1/4/2019 to 1/4/2020
 06/05/19              Transfer Debit to Metropolitan     Transition Debit to Metropolitan   9999-000                                 74,314.80                        0.00
                       Commercial Bank acct ******9869    Commercial Bank acct
                                                          3910049869

                                            COLUMN TOTALS                                                        74,484.79             74,484.79                      $0.00
                                                   Less: Bank Transfers/CDs                                           0.00             74,314.80
                                            Subtotal                                                             74,484.79                 169.99
                                                   Less: Payments to Debtors                                                                 0.00

                                            NET Receipts / Disbursements                                        $74,484.79                $169.99




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                                               Form 2                                                                                Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              9:16-bk-11975-DS                                   Trustee Name:                   Jeremy W. Faith (001380)
Case Name:             EDWARD PORTNOY MD, INC.                            Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:         **-***6545                                         Account #:                      ******9869 Checking Account
For Period Ending: 03/31/2020                                             Blanket Bond (per case limit): $5,000,000.00
                                                                          Separate Bond (if applicable): N/A

    1          2                         3                                       4                             5                      6                        7

  Trans.    Check or      Paid To / Received From            Description of Transaction       Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                          Tran. Code       $                       $

 06/05/19              Transfer Credit from Rabobank,     Transition Credit from Rabobank,   9999-000          74,314.80                                           74,314.80
                       N.A. acct ******6000               N.A. acct 5022276000
 08/15/19    1000      Franchise Tax Board                2017 3586 Payment                  2820-000                                     1,090.00                 73,224.80
 08/15/19    1001      Franchise Tax Board                2018 3586 Payment                  2820-000                                      902.00                  72,322.80
 01/27/20    1002      MARGULIES FAITH LLP                9:16-11975 Paid by order entered   3110-000                                 32,766.00                    39,556.80
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $32,766.00 =
                                                          $32,766.00; Claim #ADMIN-01
 01/27/20    1003      MARGULIES FAITH LLP                9:16-11975 Paid by order entered   3120-000                                      289.72                  39,267.08
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $289.72 = $289.72;
                                                          Claim #ADMIN-02
 01/27/20    1004      United States Bankruptcy Court     9:16-11975 Paid by order entered   2700-000                                     1,050.00                 38,217.08
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $1,050.00 =
                                                          $1,050.00; Claim #ADMIN-03
 01/27/20    1005      Grobstein Teeple, LLP              9:16-11975 Paid by order entered   3410-000                                 16,136.50                    22,080.58
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $16,136.50 =
                                                          $16,136.50; Claim #ADMIN-04
 01/27/20    1006      Grobstein Teeple, LLP              9:16-11975 Paid by order entered   3420-000                                       22.86                  22,057.72
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $22.86 = $22.86;
                                                          Claim #ADMIN-05
 01/27/20    1007      Jeremy W. Faith                    9:16-11975 Paid by order entered   2100-000                                     4,562.71                 17,495.01
                                                          01/24/2020. Dividend paid at
                                                          65.42% of $6,974.24 = $4,562.71;
                                                          Claim #FEE
 01/27/20    1008      Internal Revenue Service           9:16-11975 Paid by order entered   2810-000                                     2,411.53                 15,083.48
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $2,411.53 =
                                                          $2,411.53; Claim #IRS - Admin
 01/27/20    1009      Jeremy W. Faith                    9:16-11975 Paid by order entered   2200-000                                        3.40                  15,080.08
                                                          01/24/2020. Dividend paid at
                                                          100.00% of $3.40 = $3.40; Claim
                                                          #TE
 01/27/20    1010      Franchise Tax Board                9:16-11975 Paid by order entered   2820-000                                      500.00                  14,580.08
                                                          01/24/2020. Dividend paid at
                                                          20.06% of $2,492.00 = $500.00;
                                                          Claim #1
 01/27/20    1011      OnDeck Capital Inc., assignee of   9:16-11975 Paid by order entered   7100-000                                 14,580.08                         0.00
                       Bofl Federal Bank c/o Aubrey Law   01/24/2020. Dividend paid at
                       Firm PC                            7.62% of $191,392.20 =
                                                          $14,580.08; Claim #2

                                             COLUMN TOTALS                                                     74,314.80               74,314.80                       $0.00
                                                   Less: Bank Transfers/CDs                                    74,314.80                      0.00
                                             Subtotal                                                                 0.00             74,314.80
                                                   Less: Payments to Debtors                                                                  0.00

                                             NET Receipts / Disbursements                                          $0.00              $74,314.80




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                                       Form 2                                                                    Exhibit 9
                                                                                                                                 Page: 3
                                       Cash Receipts And Disbursements Record
Case No.:           9:16-bk-11975-DS                           Trustee Name:                     Jeremy W. Faith (001380)
Case Name:          EDWARD PORTNOY MD, INC.                    Bank Name:                        Metropolitan Commercial Bank
Taxpayer ID #:      **-***6545                                 Account #:                        ******9869 Checking Account
For Period Ending: 03/31/2020                                  Blanket Bond (per case limit): $5,000,000.00
                                                               Separate Bond (if applicable): N/A




                                                                                                  NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******6000 Checking                              $74,484.79          $169.99                       $0.00

                                 ******9869 Checking Account                             $0.00               $74,314.80              $0.00

                                                                                 $74,484.79                 $74,484.79               $0.00




                 03/31/2020                                            /s/Jeremy W. Faith
                   Date                                                Jeremy W. Faith




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